Case 2:22-cv-00223-Z Document 1-6 Filed 11/18/22   Page 1 of 7 PageID 177




                   Exhibit 5
            Declaration of Dr. Jeffrey Barrows
Case 2:22-cv-00223-Z Document 1-6 Filed 11/18/22   Page 2 of 7 PageID 178
Case 2:22-cv-00223-Z Document 1-6 Filed 11/18/22   Page 3 of 7 PageID 179
Case 2:22-cv-00223-Z Document 1-6 Filed 11/18/22   Page 4 of 7 PageID 180
Case 2:22-cv-00223-Z Document 1-6 Filed 11/18/22   Page 5 of 7 PageID 181
Case 2:22-cv-00223-Z Document 1-6 Filed 11/18/22   Page 6 of 7 PageID 182
Case 2:22-cv-00223-Z Document 1-6 Filed 11/18/22   Page 7 of 7 PageID 183
